       Case 3:21-cr-00155-JD Document 71-1 Filed 08/19/22 Page 1 of 3



 1   GRANT P. FONDO (SBN 181530)
     GFondo@goodwinlaw.com
 2   GOODWIN PROCTER LLP
     601 Marshall Street
 3   Redwood City, California 94063
     Tel.:+ 1 650 752 3100
 4   Fax: + 1 650 853 1038

 5   Attorney for Defendant
     CARLOS E. KEPKE
 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA,                    Case No. 3:21-CR-0155-JD
13                    Plaintiff,                  DECLARATION OF GRANT P. FONDO
                                                  IN SUPPORT OF OPPOSITION TO
14          V.                                    MOTION TO EXCLUDE
                                                  DEFENDANT'S PROFFERED EXPERT
15   CARLOS E. KEPKE,                             WITNESS, RODNEY READ
16                    Defendant.                  Date:      October 17, 2022
                                                  Time:      10:30 a.m.
17                                                Dept:      11
                                                  Judge:    Hon. James Donato
18

19

20

21

22
23

24

25

26

27

28

      DECLARATION OF GRANT P. FONDO ISO
      OPPOSITION TO MOTION TO EXCLUDE                              CASE No.: 3:21-CR-0155-JD
        Case 3:21-cr-00155-JD Document 71-1 Filed 08/19/22 Page 2 of 3



 1                                 DECLARATION OF GRANT P. FONDO
 2   I, Grant P. Fondo, declare as follows:

 3           1.     I am a partner with the law firm Goodwin Procter LLP and a member of good

 4   standing of the bar of this Court. I represent Defendant Carlos E. Kepke ("Mr. Kepke") in the

 5   above-captioned matter. I submit this Declaration in support of Mr. Kepke's Opposition to the

 6   Government's Motion to Exclude Defense Expert, Rodney Read ("Mr. Read"). Unless stated

 7   otherwise, this declaration is based on my personal knowledge, and if called as a witness I could

 8   and would testify as follows:

 9          2.      On June 10, 2022, the government contacted the defense raising concerns about

10   the sufficiency of Mr. Kepke's expert disclosure provided to the government on June 3, 2022.

11   The defense responded offering to set up a call to discuss the government's objections.

12          3.      On June 22, 2022, the government and the defense spoke on the phone. During

13   this call, the defense expressed our disagreement with the government's claim that its expert

14   disclosure was insufficient and that an expert report was required. However, the defense did

15   agree to supplement its summary of Mr. Read's expected testimony.

16          4.      Following the June 22, 2022, call, the parties agreed to re-engage at the end of July

17   to discuss whether the government needed additional time to file a Daubert motion.

18          5.      On July 22, 2022, the defense provided both a supplemental expert disclosure and

19   rebuttal expert disclosure.

20          6.      The government did not raise any further objections to the disclosures, nor did

21   they request additional time to file a Daubert motion.

22          I declare under penalty of perjury under the laws of the United States of America that the

23   foregoing is true and correct. Executed on August 19, 2022 in Los Altos, California.

24
25   Dated: August 19, 2022                               By: Isl Grant P. Fondo
                                                              GRANT P. FONDO (SBN 181530)
26                                                            GFondo@goodwinlaw.com
                                                             GOODWIN PROCTER LLP
27                                                        Attorney for Defendant
                                                          CARLOS E. KEPKE
28
                                                      2
      DECLARATION OF GRANT P. FONDO ISO
      OPPOSITION TO MOTION TO EXCLUDE                                        CASE NO.: 3:21-CR-0155-JD
        Case 3:21-cr-00155-JD Document 71-1 Filed 08/19/22 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on August 19, 2022. I further certify that all participants in the case are registered CM/ ECF users

 5   and that service will be accomplished by the CM/ECF system.

 6          I certify under penalty of perjury that the foregoing is true and correct. Executed on August

 7   19, 2022 in Los Altos, California.

 8

 9                                                           Isl Grant P. Fonda
                                                             GRANT P. FONDO
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                      3
      DECLARATION OF GRANT P. FONDO ISO
      OPPOSITION TO MOTION TO EXCLUDE                                         CASE NO.: 3:21-CR-0155-JD
